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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                          §
     Plaintiff/Respondent,                         §
                                                   §
V.                                                 §          CR. No. C-06-485 (3)
                                                   §          C.A. No. C-08-307
RENE DE LA TORRE,                                  §
     Defendant/Movant.                             §

                        ORDER FOR RESPONDENT TO ANSWER
                      AND ORDER ALLOWING MOVANT TO REPLY

         On September 9, 2008, the Clerk received Movant Rene De La Torre’s (“De La Torre”)

motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255. It is now ORDERED

that the United States answer the § 2255 motion not later than sixty days after the entry of this

Order.

         It is further ORDERED that the United States provide, at the time of its answer, transcripts

of all pertinent proceedings that are not already part of the record. Relevant affidavits, if any, are

also to be filed with the answer.

         Pursuant to Rule 5(d) of the RULES GOVERNING SECTION 2255 PROCEEDINGS FOR THE

UNITED STATES DISTRICT COURTS (2008), De La Torre may file a reply not later than thirty days

after service of the government’s answer.



         ORDERED this 24th day of September, 2008.




                                               ____________________________________
                                                           Janis Graham Jack
                                                       United States District Judge


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